Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 1 of 15




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-01804-MJW

   FLAVIE BONDEH BAGOUE, on behalf of herself and all similarly situated persons,

         Plaintiff,

   v.

   DEVELOPMENTAL PATHWAYS, INC. and CONTINUUM OF COLORADO, INC.,

         Defendants

   ______________________________________________________________________

                             SCHEDULING ORDER
   ______________________________________________________________________

                                1. DATE OF CONFERENCE
                             AND APPEARANCES OF COUNSEL

         A scheduling conference pursuant to FED. R. CIV. P. 16(b) is scheduled for

   October 26, 2016 at 10:30 a.m. MST in Courtroom A502 of the Alfred A. Arraj United

   States Courthouse before the Honorable Michael J. Watanabe.

         Attorneys for Plaintiff         Attorneys for Defendants

         Brian D. Gonzales               Jason D. Melichar, Esq.
         THE LAW OFFICES OF BRIAN D.     Henry L. Solano, Esq.
         GONZALES, PLLC                  Wilson Elser Moskowitz Edelman & Dicker, LLP
         242 Linden Street               1225 17th Street, Suite 2750
         Fort Collins, Colorado 80524    Denver, CO 80202
         Telephone: (970) 214-0562       Telephone: (303) 573-5300

         Alexander Hood                  Christopher J. Forrest
         TOWARDS JUSTICE                 MILLER & STEIERT, P.C.
         1535 High Street, Suite 300     1901 W. Littleton Blvd.
         Denver, Colorado 80218          Littleton, CO 80120
         Telephone: (720) 239-2606       Telephone: (303) 798-2525
                                            1
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 2 of 15




                               2. STATEMENT OF JURISDICTION

          This court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 (federal

   question) and 29 U.S.C. §216(b) (Fair Labor Standards Act).

                           3. STATEMENT OF CLAIMS AND DEFENSES

          a.     Plaintiff:

          The federal Fair Labor Standards Act, 29 U.S.C. §201, et seq. (“FLSA”), the

   Colorado Wage Claim Act, §8-4-101, et seq. (the “Wage Claim Act”) and the Colorado

   Minimum Wage Act, C.R.S. §8-6-101, et seq., as implemented by the Colorado

   Minimum Wage Order (the “Wage Order”), contain various rules regarding the minimum

   wage and overtime.         Defendants own and operate a chain of “group homes” in

   Colorado. Plaintiff, an hourly, non-exempt employee of Defendants, alleges that

   Defendants failed to pay her and other employees all earned straight time and overtime

   pay. In particular, Plaintiff alleges that Defendants illegally deducted time from her pay

   for purported sleeping time and/or failed to pay the overtime premium for hours worked

   in excess of twelve per day. This action seeks compensation (including attorney’s fees,

   liquidated damages and/or statutory penalties) for all employees subjected to these

   statutory violations.

          b.     Defendants:

          Defendants have not violated any federal or state law regarding compensation to

   Plaintiff. More specifically, as Plaintiff has conceded, Defendants provide compensation

   for all work time and have implemented a 24 hour work shift (Continuous Work Shift)

   that pursuant to federal law and interpretation of the U.S. Department of Labor complies
                                               2
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 3 of 15




   with the FLSA regarding sleep time as wait time and, therefore, not compensable.

   Defendants have also complied with applicable law by compensating Plaintiff where

   appropriate for preliminary and postliminary time (except for time of less than

   approximately 7 minutes) such that that time is exempt from the FLSA including the

   Portal to Portal Act amendment to the FLSA, is de minimis or is appropriate rounding of

   time. Further, there is no overtime claim under the Colorado Minimum Wage and Wage

   Claim Act as the Director of the Colorado Department of Labor, Division of Labor

   Standards and Statistics, has exempted Defendants from the Wage Order that would

   otherwise govern work and compensation under Colorado law. Defendants have filed a

   motion to dismiss which in addition to applicable law and case authority provides

   Plaintiff’s time records, all of which establish failure to state a claim.              Finally,

   Defendants’ dispute Plaintiff’s characterization that they operate a “chain of group

   homes” as grossly inaccurate.

                                   4. UNDISPUTED FACTS

         The following facts are undisputed:

         1.     Plaintiff was an employee of Defendant Continuum of Colorado, Inc. for

   three years preceding this action.

         2.     For each of the three years preceding the filing date of this lawsuit, each

   Defendant has had the requisite gross volume of sales within the meaning of the FLSA.

         3.     Since at least three years prior to the filing date of this lawsuit, the

   Defendants have been engaged in commerce or in the production of goods for

   commerce within the meaning of the FLSA.
                                                3
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 4 of 15




          4.        While working for Defendants, Plaintiff was engaged in commerce or in

   the production of goods for commerce within the meaning of the FLSA.

                                 5. COMPUTATION OF DAMAGES

                    Plaintiff:   The   records    Plaintiff   requires   to    calculate   damages

   specifically remain in the possession of Defendants.            Therefore, until discovery is

   complete, Plaintiff cannot provide a precise damage figure.                In general, however,

   Plaintiff seeks the following on behalf of herself and any putative class members:

   retroactive payment of all unpaid straight time and overtime wages. Plaintiff also seeks

   injunctive relief, statutory penalties and/or liquidated damages, interest, attorney’s fees

   and litigation expenses.

          Defendants: Defendants have not answered Plaintiff’s Complaint as a Motion to

   Dismiss is pending. However, it is not anticipated at this time that any counterclaim will

   be filed for which damages could be sought, so there is no computation of damages to

   be identified.

                      6. REPORT OF PRE-CONFERENCE DISCOVERY AND
                        MEETING ORDERED UNDER FED. R. CIV. P. 26(F)

          a.        Date of Rule 26(f) meeting:

                    The parties convened a telephone conference on September 13

                    and September 16, 2016, to discuss the matters set forth in Rule

                    26(f).

          b.        Names of each participant and the party he/she represented:




                                                  4
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 5 of 15




        Attorneys for Plaintiff               Attorneys for Defendants
        Brian D. Gonzales                     Jason D. Melichar, Esq.
        THE LAW OFFICES OF BRIAN D.           Henry L. Solano, Esq.
        GONZALES, PLLC                        Wilson Elser Moskowitz Edelman & Dicker, LLP
        242 Linden Street                     1225 17th Street, Suite 2750
        Fort Collins, Colorado 80524          Denver, CO 80202
                                              Telephone: (303) 573-5300
        Alexander Hood
        Attorney and Director of Litigation   Christopher J. Forrest
        TOWARDS JUSTICE                       MILLER & STEIERT, P.C.
        1535 High St., Suite 300              1901 W. Littleton Blvd.
        Denver, Colorado 80218                Littleton, CO 80120


        c.     Statement as to when Rule 26(a)(1) disclosures were made or will

               be made:

               The Rule 26(a)(1) initial disclosures will be completed by both

               parties on or before October 25, 2016.

        d.     Proposed Changes, if any, in timing of requirement of disclosures

               under Fed. R. Civ. P. 26(a)(1):

               See above.

        e.     A statement concerning any agreements to conduct informal

               discovery:

               The parties have made no specific agreements as to any informal

               discovery.

        f.     A statement concerning any other agreements or procedures to

               reduce discovery and other litigation costs, including the use of a

               unified exhibit numbering system:


                                               5
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 6 of 15




              The parties have not reached any agreements related to reducing

              discovery or litigation costs. The parties will use a unified exhibit

              number system.

        g.    A statement as to whether the parties anticipate that their claims

              or   defenses      may   involve       extensive   electronically   stored

              information, or that a substantial amount of disclosure or

              discovery will involve information or records maintained in

              electronic form:

              The parties do not anticipate that their claims or defenses may

              involve extensive electronically stored information. However, if

              there are extensive electronically stored information the parties

              have agreed to work cooperatively toward producing any such

              relevant data in a mutually agreeable format, pursuant to FED. R.

              CIV. P. 34.

        h.    A statement summarizing the parties’ discussions regarding the

              possibilities for promptly settling or resolving the case:

              The parties certify that they have held preliminary discussions

              regarding the possibilities for a prompt settlement or resolution of

              the case including by alternative dispute resolution, and are

              continuing to discuss such possibilities.           The results of any

              resolution including by alternative dispute resolution process will


                                                 6
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 7 of 15




              be reported to the magistrate judge within ten days of the

              meeting.

                                      7. CONSENT

        a.    ( )    All parties have consented to the exercise of jurisdiction of a United

                     States Magistrate Judge.

        b.    ( X)   All parties have not consented to the exercise of jurisdiction of a

                     United States Magistrate Judge.

                                8. DISCOVERY LIMITATIONS

        a.    Modifications which any party proposes to the presumptive numbers of

              depositions or interrogatories contained in the Federal Rules:

              None. Each side may conduct no more than 10 depositions, and may

              serve no more than 25 interrogatories, pursuant to FED. R. CIV. P.

              30(a)(2)(A) and FED. R. CIV. P. 33(a)(1), respectively.

        b.    Limitations which any party proposes on the length of depositions:

              The presumptive limits under FED. R. CIV. P. 30(d) shall apply to the length

              of depositions.

        c.    Limitations which any party proposes on the number of requests for

              production and/or requests for admission:

              Each side shall be limited to 25 requests for production and 25 requests

              for admission. If it becomes apparent that additional discovery requests

              are necessary, the parties will confer and file the appropriate motion to

              seek discovery beyond these limits.
                                             7
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 8 of 15




          d.     Other Planning or Discovery Orders: Plaintiff, will file any motion for FED.

                 R. CIV. PROC. 23 class action certification and/or FLSA §216(b) collective

                 action certification by April 26, 2017. If a class and/or collective action is

                 certified, the parties will meet and confer regarding modifications to the

                 discovery cut-off, dispositive motion deadline and/or expert witness

                 disclosure deadline to reflect the certified action.

                               9. CASE PLAN AND SCHEDULE

          Defendants’ Position: Defendants have filed a Motion to Stay Discovery and

   the related deadlines listed below until disposition of the Motion to Dismiss or six (6)

   months, whichever occurs first. This is based on the public nature of the function

   performed by Defendants as non profit service providers for services to developmentally

   disabled persons from federal, state and local governmental funds, which should be

   protected and preserved. This is especially so given the clear failure by Plaintiff to state

   a claim in the first instance, substantiated by the failure to assert facts by pleading and

   as further corroboration that providing an opportunity to amend the complaint is not

   useful. Simply put, the time records completed by Plaintiff demonstrate the lack of good

   faith pleading necessary for factual allegations as opposed to her vague conclusory

   statements to state a violation of the FLSA and existence of the Colorado Department of

   Labor exemption of Defendants from the Colorado labor laws relied on by Plaintiff.

   Even if very limited discovery were permitted related to the Motion to Dismiss, it should

   be narrowly tailored to Plaintiff and the specific claims she has asserted in the

   Complaint.
                                                 8
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 9 of 15




          If there is not a stay of discovery, Defendants would seek to bifurcate the

   discovery process with adjustment of the other scheduled dates accordingly. This is

   especially important because a collective action is asserted under the FLSA (requiring

   opt in) and a class action under the Colorado labor laws (assuming, arguendo,

   applicability of the Colorado labor law despite the written exemption). This would be to

   determine who are parties to this action (FLSA collective action and Colorado labor law

   class certification) should the Motion to Dismiss be denied, in whole or in part. This will

   allow for an orderly and cost effective determination of the parties and, therefore, the

   applicable scope of discovery and further issues in this matter. The dates listed below

   by Defendants reflect the approach urged by them.

          Plaintiff’s Position: Plaintiff opposes Defendants’ Motion to Stay Discovery

   because it will cause unnecessary delay and will unduly prejudice absent class

   members in that: 1) existing contact information will grow stale with the passage of time;

   and 2) the statute of limitations will continue to run on certain aspects of absent class

   member claims. Moreover, as discussed below, the parties already have agreed to limit

   discovery, which will ensure that discovery during the pendency of the Motion to

   Dismiss will be proportionate to the needs of the case. In any event, most of the issues

   raised in Defendants’ Motion to Dismiss are based on disputed fact issues and,

   therefore, Plaintiff will require discovery in order to respond.

          a.     Deadline for Joinder of Parties and Amendment of Pleadings: December

   12, 2016. These deadlines shall not apply to putative class or collective action

   members who elect to join the lawsuit after certification of a class or collective action or
                                                 9
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 10 of 15




   after it is determined that a class or collective action will not proceed or be certified. At

   that time, putative class action members may join the lawsuit and/or amend the

   pleadings to reflect any additional claims they may have.

          b.     Discovery Cut-Off:

          Plaintiff’s Position: All discovery shall be completed no later than August 30,

   2017, although this deadline may be modified if a class and/or collective action is

   certified. During the discovery period, Plaintiff may seek discovery relating to

   Defendants’ Motion to Dismiss. In addition, Plaintiff may seek discovery related to class

   and/or collective action certification issues including discovery relating to: 1) the

   corporate structure and business relationship, if any, between and among the

   Defendants; 2) the number and types of employees employed by Defendants who

   provide care to Defendants’ clients, including each employee’s job responsibilities and

   compensation; 3) Defendants’ record-keeping systems related to employees who

   provide care to Defendants’ clients; and 4) any overtime or other exemptions claimed by

   Defendants in this litigation.

          Defendants’ Position: To the extent Plaintiff seeks discovery related to

   Defendants’ pending Motion to Dismiss, Defendants’ propose that such discovery be

   required to be completed by December 1, 2016, and that no other discovery be sought

   or permitted until such time as the Motion to Dismiss is determined.

          To the extent Plaintiff seeks discovery related to class and/or collective action

   certification issues identified immediately above, Defendants request that such

   discovery shall not begin until 30 days after the complete submission of pleadings
                                                 10
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 11 of 15




   related to the Motion to Dismiss, or January 1, 2017, whichever is later. Defendants

   request that any collective or class action certification discovery be completed 60 days

   thereafter with any motion related to collective or class action being filed by April 1,

   2017. Defendants request that discovery then begin after May 1, 2017, with a discovery

   cut-off of August 30, 2017.

          c.     Dispositive Motion Deadline: Dispositive motions, including motions for

   summary judgment or partial summary judgment, must be filed no later than September

   30, 2017, although this deadline may be modified if a class and/or collective action is

   certified.

          d.     Expert Witness Disclosure:

                 (1)    Anticipated fields of expert testimony.

          Plaintiff’s Position: Plaintiff has preliminarily identified the following fields of

   expertise: Accounting

          Defendants’ Position:       The Defendants’ use of expert witnesses will be

   dependent on experts identified and sought to be used by Plaintiff for rebuttal purposes.

   Defendants do not at this time anticipate the use of expert testimony other than for

   rebuttal evidence, especially since it is not anticipated that a counterclaim will be filed.

                 (2)    Limitations proposed on the use or number of expert witnesses:

                        2 expert witnesses per side, excluding rebuttal witnesses.

                 (3)    Plaintiff and Defendant shall designate all affirmative testimony

   experts and provide opposing counsel with all information specified in FED. R. CIV. P.


                                                 11
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 12 of 15




   26(a)(2) on or before July 15, 2017, although this deadline may be modified if a class

   and/or collective action is certified.

                   (4)    Plaintiff and Defendants shall designate all rebuttal experts and

   provide opposing counsel with all information specified in FED. R. CIV. P. 26(a)(2) on or

   before August 15, 2017, although this deadline may be modified if a class and/or

   collective action is certified.

                   (5)    Notwithstanding the provisions of FED. R. CIV. P. 26(a)(2)(B), no

   exception to the requirements of this rule will be allowed by stipulation of the parties

   unless the stipulation is approved by the court. In addition to the requirements set forth

   in Rule 26(a)(2)(B)(i)-(VII), the expert’s written report also must identify the principles

   and methods on which the expert relied in support of his/her opinions and describe how

   the expert applied those principles and methods reliably to the facts of the case relevant

   to the opinions set forth in the written report.

          e.      Identification of Persons to be Deposed:

                  Plaintiff:     FED. R. CIV. P. 30(b)(6) Depositions of each Defendant.

                  Defendants: Plaintiff

                  Subject to the terms of this Scheduling Order and without further Order of

   the Court, the parties may depose other persons as the necessity of such depositions

   becomes known.

          f.      Deadline for Interrogatories: The cutoff for service of interrogatories shall

   be 33 days before the discovery cutoff set forth for class certification in Paragraph 9(b)

   above.
                                                 12
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 13 of 15




            g.   Deadline for Requests for Production of Documents and/or Admissions:

   The cutoff for service of requests for production shall be 33 days before the discovery

   cutoff set forth for class certification in Paragraph 9(b) above.

                         10. DATES FOR FUTURE CONFERENCES

            a.   Status conferences will be held in this case at the following dates and

   times:

            b.   A final pretrial conference will be held in this case on _______________ at

   ____ o’clock __ .m. A Final Pretrial Order shall be prepared by the parties and

   submitted to the court no later than seven days before the final pretrial conference.

                            11. OTHER SCHEDULING MATTERS

            a.   Identify those discovery or scheduling issues, if any, on which counsel

                 after a good faith effort, were unable to reach an agreement:

                 See above related to the anticipated Motion to Stay Discovery and the

   bifurcated discovery schedule.

            b.   Anticipated length of trial, and whether trial is to the court or jury:

                 5 days, to the Court.

            c.   Identify pretrial proceedings, if any, that the parties believe may be more

                 efficiently or economically conducted in the District Court’s facilities at 212

                 N. Wahsatch Street, Colorado Springs, Colorado 80903-3476; Wayne

                 Aspinall U.S. Courthouse/Federal Building, 402 Rood Avenue, Grand

                 Junction, Colorado 81501-2520; or the U.S. Courthouse/Federal Building,

                 103 Sheppard Drive, Durango, Colorado 81303-3439.
                                                 13
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 14 of 15




                  None.

                         12. NOTICE TO COUNSEL AND PRO SE PARTIES

           The parties filing motions for extension of time or continuances must comply with

   D.C.COLO.LCivR 6.1D. by submitting proof that a copy of the motion has been served

   upon the moving attorney's client, all attorneys of record, and all pro se parties.

           Counsel will be expected to be familiar and to comply with the Pretrial and Trial

   Procedures or Practice Standards established by the judicial officer presiding over the

   trial of this case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR

   7.1A.

           Counsel and unrepresented parties are reminded that any change of contact

   information must be reported and filed with the Court pursuant to the applicable local

   rule.

                          13. AMENDMENTS TO SCHEDULING ORDER

           The Scheduling Order may be altered or amended only by order of the

   Magistrate Judge and only upon a showing of good cause.

           DATED this _____ day of _________________, 2016

                                             BY THE COURT:

                                             ___________________________________
                                             Magistrate Judge

   SCHEDULING ORDER APPROVED AS TO FORM:

   /s/ Brian D. Gonzales
   Brian D. Gonzales
                                                14
Case 1:16-cv-01804-PAB-NRN Document 29 Filed 10/24/16 USDC Colorado Page 15 of 15




   THE LAW OFFICES OF BRIAN D.
   GONZALES, PLLC
   242 Linden Street
   Fort Collins, Colorado 80524
   BGonzales@ColoradoWageLaw.com

   Alexander Hood
   Attorney and Director of Litigation
   TOWARDS JUSTICE
   1535 High St., Suite 300
   Denver, Colorado 80218
   alex@towardsjustice.org

   ATTORNEYS FOR PLAINTIFF

   /s/ Jason D. Melichar_____
  Jason D. Melichar, Esq.
  Henry L. Solano, Esq.
  Wilson Elser Moskowitz Edelman & Dicker, LLP
  1225 17th Street, Suite 2750
  Denver, CO 80202
  Telephone: (303) 573-5300
   Jason.Melichar@wilsonelser.com
   Henry.Solano@wilsonelser.com

   Christopher J. Forrest
   MILLER & STEIERT, P.C.
   1901 W. Littleton Blvd.
   Littleton, CO 80120
   CJForrest@m-s-lawyers.com

   ATTORNEYS FOR DEFENDANTS




                                          15
